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                                                                          USDC SDNY
UNITED STATES DISTRICT COURT                                              DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                             ELECTRONICALLY FILED
                                                                          DOC #:
 MICHAEL KANE, et al.,                                                    DATE FILED: 10/4/2021
                               Plaintiff,
                                                                21 Civ. 7863 (MKV)
                       -v.-
                                                                AMENDED ORDER
 BILL DE BLASIO, et al.,

                              Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiffs filed this action on September 21, 2021. Today, Plaintiffs filed an application

for a temporary restraining order and preliminary injunction [ECF No. 12]. The motion was

referred to me as the Part One judge.

       The Court will hold a hearing on the application for a temporary restraining order

tomorrow, October 5, 2021, at 9:00AM in Courtroom 18C of the Daniel Patrick Moynihan

United States Courthouse, 500 Pearl Street, New York, New York. The proceeding is open to

the public, but members of the public and media may attend telephonically by dialing 888-278-

0296 and entering access code 5195844#. Defendants may file any opposition to the motion

seeking a temporary restraining order by 8:00PM today.

       The parties must be prepared to address the impact of noncompliance with the mandate

on Plaintiffs. Specifically, the parties should address when, if, and how Plaintiffs’ employment

with the Department of Education could be terminated under the relevant orders and agreements

if Plaintiffs are not able to secure an exemption to the vaccination mandate.




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       Plaintiffs are directed to serve a copy of this order by email on Defendants and their

counsel by no later than 2:45PM today.

       This Order supersedes in all respects the Order entered earlier today at ECF No. 29.



SO ORDERED.

Date: October 4, 2021                                   _ ______
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